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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

   MICHAEL E. WILLIAMS                                 §
                                                       §
                                                       §
                                                       §
   v.                                                  §      CIVIL ACTION NO. 6:17-CV-369
                                                       §
                                                       §
   STATE FARM INSURANCE, et al.                        §
                                                       §
                                                       §
        .

                                           FINAL JUDGMENT

            The above-entitled action has come before the Court for consideration. A decision having

 been duly rendered,

            IT IS HEREBY ORDERED that the complaint is DISMISSED WITH PREJUDICE.

            Any motion not previously ruled on is DENIED.

            The Clerk is directed to close the case.


            So ORDERED and SIGNED this 22nd day of December, 2017.




                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE
